UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:
                                                        Civil Action No. 21-MC-00425 (JPO)
 SEARCH WARRANT DATED APRIL 28, 2021
                                                           NOTICE OF APPEARANCE

                                                                     ECF CASE


          PLEASE TAKE NOTICE that the undersigned attorney, Edward Patrick Gilman, hereby

appears as counsel of record for Victoria Toensing, in the above-captioned proceeding. I certify

that I am admitted to practice in this Court.

Dated: May 14, 2021


                                                Respectfully Submitted,

                                                By: /s/ Edward Patrick Gilman
                                                    Edward Patrick Gilman
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